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2021 National Firearms Survey: Updated Analysis
Including ‘T’ypes of Firearms Owned

William English, PhD

Georgetown University

Expanded Report: May 138, 2022

Abstract

This report summarizes the findings of a national survey of firearms ownership and
use conducted between February 17th and March 23rd, 2021 by the professional survey
firm Centiment. This survey, which is part of a larger book project, aims to provide the
most comprehensive assessment of firearms ownership and use patterns in America to
date. This online survey was administered to a representative sample of approximately
fifty-four thousand U.S. residents aged 18 and over, and it identified 16,708 gun owners
who were, in turn, asked in-depth questions about their ownership and their use of
firearms, including defensive uses of firearms.

Consistent with other recent survey research, the survey finds an overall rate of
adult firearm ownership of 31.9%, suggesting that in excess of 81.4 million Americans
aged 18 and over own firearms. The survey further finds that approximately a third
of gun owners (31.1%) have used a firearm to defend themselves or their property,
often on more than one occasion, and it estimates that guns are used defensively by
firearms owners in approximately 1.67 million incidents per year. Handguns are the
most common firearm employed for self-defense (used in 65.9% of defensive incidents),
and in most defensive incidents (81.9%) no shot was fired. Approximately a quarter
(25.2%) of defensive incidents occurred within the gun owner’s home, and approxi-
mately half (53.9%) occurred outside their home, but on their property. About one
out of ten (9.1%) defensive gun uses occurred in public, and about one out of thirty
(3.2%) occurred at work.

A majority of gun owners (56.2%) indicate that they carry a handgun for self-
defense in at least some circumstances, and about 35% of gun owners report carrying
a handgun with some frequency. We estimate that approximately 20.7 million gun
owners (26.3%) carry a handgun in public under a “concealed carry” regime; and
34.9% of gun owners report that there have been instances in which they had wanted
to carry a handgun for self-defense, but local rules did not allow them to carry.

The average gun owner owns about 5 firearms, and handguns are the most common
type of firearm owned. 48.0% of gun owners — about 39 million individuals — have

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owned magazines that hold over 10 rounds (up to 542 million such magazines in total),
and 30.2% of gun owners — about 24.6 million individuals — have owned an AR-15 or
similarly styled rifle (up to 44 million such rifles in total). Demographically, gun owners
are diverse. 42.2% are female and 57.8% are male. Approximately 25.4% of Blacks own
firearms, 28.3% of Hispanics own firearms, 19.4% of Asians own firearms, and 34.3%
of Whites own firearms. In total, Americans own over 415 million firearms, consisting
of approximately 171 million handguns, 146 million rifles, and 98 million shotguns.

1 Introduction

This report summarizes the main findings of a national survey of firearms ownership and
use conducted between February 17th and March 28rd, 2021 by the professional survey firm
Centiment. This survey, which is part of a larger book project, aims to provide the most
comprehensive assessment of firearms ownership and use patterns in America to date.

Before this survey, the most authoritative resource for estimating details of gun ownership
in the U.S. has been the “Comprehensive National Survey on Firearms Ownership and Use”
conducted by Cook and Ludwig in 1994 (Cook and Ludwig, 1996), and the most authoritative
resource for estimating defensive gun use in the U.S. has been the “National Self-Defense
Survey” conducted by Kleck and Gertz in 1993 (Kleck and Gertz, 1995, 1998). While valuable
resources, they are both now a quarter century old, and no surveys of similar scope and depth
have documented firearms ownership and use in more recent years.

Hepburn et al. (2007) conducted a more limited survey to ascertain the “gun stock” in
2004, a version of which was repeated in 2015 (Azrael et al., 2017). However, as they explain

in introducing their latter survey, data sources on firearms ownership and use remain scarce:

Although the National Opinion Research Center’s General Social Survey and
other surveys have asked respondents whether they personally own a firearm
or live in a home with firearms, few have asked about the number of guns re-
spondents own, let alone more detailed information about these firearms and the
people who own them, such as reasons for firearm ownership, where firearms were
acquired, how much firearms cost, whether they are carried in public, and how
they are stored at home (Smith and Son 2015; Gallup 2016; Morin 2014). Be-

cause of this, the best and most widely cited estimates of the number of firearms

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in civilian hands are derived from two national surveys dedicated to producing
detailed, disaggregated, estimates of the U.S. gun stock, one conducted in 1994,
the other in 2004 (Cook and Ludwig 1997, 1996; Hepburn et al. 2007).

Miller, Zhang, and Azrael conducted an expanded survey in 2021 of 5,932 gun owners
with a focus on characterizing the demographics of those who acquired firearms for the first
time during the COVID-19 Pandemic, based on a sub-sample of 447 individuals who fit this
criterion (Miller et al., 2022). This team also described their survey as a “2021 National
Firearms Survey,” and it is helpful to clarify that their survey was distinct from the survey
reported here.

Richer survey data on firearms ownership and use has been collected by industry asso-
ciations such as the National Shooting Sports Foundation (NSSF). However, these surveys
generally aim at assessing industry trends and market segmentation and are not necessarily
designed to be nationally representative. In 2017, the Pew Research Center conducted one of
the most recent and detailed surveys of the demographics of gun ownership (Brown, 2017).?
Although it did not ask detailed questions concerning defensive use of firearms and the types
of firearms owned, this recent Pew survey serves as a helpful benchmark for corroborating
the general ownership estimates of the present survey.

Advances in survey research technologies make it possible to reach large, representative
respondent populations today at a much lower cost than a quarter century ago. One of the
limitations of the Cook and Ludwig survey, which sought to be nationally representative,
was that the survey sample was relatively small, with about 2,500 respondents of whom
only about 600, or (24.6%), owned a firearm when the survey was administered. As the
investigators noted in their report, some sub-questions were not sufficiently well powered to
make confident inferences, particularly concerning the defensive use of firearms. Similarly,
Kleck and Gertz’s survey was limited to 4,977 respondents, and the more recent surveys by

Pew, Hepburn, and Azrael are all based on less than 4,000 respondents.

See https: //www.nssf.org/research/
2See Pew Research Center, June 2017, “America’s Complex Relationship With Guns”

https: //www.pewresearch. org/social-trends/wp-content/uploads/sites/3/2017/06/Guns-Report—
FOR-WEBSITE-PDF-6-21.pdf

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Today, professional survey firms like Centiment? cultivate large pools of survey respon-
dents, enabling representative sampling, and have techniques that encourage high response

and completion rates while also ensuring the integrity of responses.*

The online survey
summarized here was presented to a nationally representative sample (excluding residents of
Vermont who had already responded to a pilot version of this survey) of 54,244 individuals
aged 18 or over who completed an initial questionnaire that included an indirect question
indicating whether they owned a firearm (respondents were presented with a list of items
commonly owned for outdoor recreational purposes, including firearms, and were asked to
select all items that they own).

This question identified 16,708 individuals as gun owners, who were then transferred
to the main survey, which then asked detailed questions about their ownership and use of
firearms. Given the length and detail of the survey, there was a slight amount of attrition,
as 7.5%, or 1,258 individuals, did not make it through all questions to the end of the survey.
However, 92.5% of the responding firearms owners (15,450) did proceed through all of the
survey questions.

This survey thus contains what we believe is the largest sample of firearms owners ever
queried about their firearms ownership and firearms use in a scientific survey in the United
States. This survey was approved by Georgetown University’s Institutional Review Board.
Of note, this survey was conducted just after a period of widespread social unrest across the
U.S. and a contentious presidential election, which background check data suggests led to
record gun sales (approximately 39.7 million in 2020, up 40% from the prior year).° It is
thus a comprehensive and timely assessment of the state of firearms ownership and use in
the United States. Finally, the extraordinarily large size of this sample enables us to make
well-powered, statistically informative inferences within individual states, which considerably
extends the value of this data.

The initial sample of respondents achieved excellent demographic representation across

3See https: //www.centiment.co/
4See https: //help.centiment .co/how-we-safeguard-your-data
5See McIntyre, Douglas A.“Guns in America: Nearly 40 million guns were purchased legally in 2020 and

another 4.1 million bought in January” https://www.usatoday.com/story/money/2021/02/10/this-is-
how-many-guns-were-sold-in-all-50-states/43371461/

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all 49 states and DC, excluding Vermont (see Appendix A and B). For the purpose of estimat-
ing firearms ownership rates for the general U.S. population we employed raked weighting
on gender, income, age, race, and state of residence. Note that there was a brief period
in the first two days after the soft launch of the survey that comprehensive demographic
data was not collected from those respondents who did not indicate firearms ownership, and
thus did not proceed to the main survey (approximately 300 respondents). Although the
survey company, Centiment, maintained demographic data on these panel respondents, it
was determined that this data was not as comprehensive as the data collected by the sur-
vey, at which point the demographic questions were moved to the front of the survey, and
asked of all respondents, including those who did not indicate firearms ownership. For the
purpose of calculating statistics on national firearms ownership rates, we exclude the en-
tire sample of both firearms owners and non-firearms owners from these first two days (410
respondents), leaving us with 53,834 respondents after this date for whom we have compre-
hensive demographic data. Firearms-owning respondents from the first two days are included
in subsequent analysis of firearms owners, and we do possess comprehensive demographic
information for these individuals.

Appendix B contains tables reporting the demographic sampling rates and the Census
demographics used for raked weighting of the national survey. Note that the overall effect of
weights is minimal given the high representativeness of the initial sample. For the purposes
of analyzing responses within the sub-sample of firearms owners, we do not employ weighting
schemes, in part because the “true” demographics of gun ownership are not knowable from an
authoritative source analogous to the U.S. Census Bureau. However, as a robustness exercise,
using weights based on estimates derived from the larger survey response rates yields results
that are substantially identical for the analysis of responses from firearms owners.

One of the challenges in asking questions about firearms is eliciting truthful responses
from firearms owners who may be hesitant to reveal information about practices that are
associated with public controversy. The “tendency to respond to questions in a socially
acceptable direction” when answering surveys is often referred to as “social desirability bias”
(Spector, 2004), and there is evidence that it can influence survey responses to questions

regarding firearms. For example, when Rafferty et al. (1995) conducted a telephone survey

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of Michigan residents who had purchased a hunting license or registered a handgun, only
87.3 percent of the handgun registrants and 89.7 percent of hunting license holders reported
having a gun in their household. Similarly, Ludwig et al. (1998) have documented a large
gender gap in reporting of firearms ownership, finding that “in telephone surveys, the rate
of household gun ownership reported by husbands exceeded wives’ reports by an average

” Asking questions via an anonymous survey instrument on the

of 12 percentage points.
internet is likely to cause less concern or worry than traditional phone-based questionnaires
with a live person on the other end or during face-to-face interviews, which is how the
General Social Survey — one of the most prominent national surveys that regularly asks
about firearm ownership — is conducted. Even when presented in the more impersonal
setting of a computer interface, however, a survey must be worded thoughtfully so as to
assure anonymity, and not give respondents reason to worry about answering truthfully.
This survey employs five common devices to encourage more truthful responses. First,
it uses an indirect “teaser” question to pre-screen respondents in order to select those who
own firearms. The initial question prompt presents the survey as concerned with “recre-
ational opportunities and related public policies” and asks respondents if they own any of
the following items, presented in a random order: Bicycle, Canoe or Kayak, Firearm, Rock
Climbing Equipment, None of the Above. Only those who select “Firearm” are then pre-
sented the full survey. We also ask demographic questions at the outset, which allows us
to assess the representativeness of the sample, including those who do not indicate firearms
ownership. Second, the survey was carefully phrased so as to not suggest animus towards gun
owners or ignorance of firearms-related terminology. Third, the survey assures respondents
of anonymity. Fourth, in order to ensure that respondents are reading the survey questions
carefully, and then responding with considered answers thereto, a “disqualifying” question
(sometimes referred to as a “screening” question) was embedded a little over half of the way
through the survey instructing respondents to select a particular answer for that question,
which only those who read the question in its entirety would understand. Anyone registering

an incorrect answer to this question was disqualified from the survey and their responses to

®For a description of the methods of the General Social Survey see: https: //www.nsf.gov/pubs/2007/
nsf0748/nsf0748_3.pdf

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any of the survey questions were neither considered nor tallied.

Finally, while responses were required for basic demographic questions, if questions of a
sensitive nature were left blank, the software would first call attention to the blank response
and prompt the respondent to enter a response. However, if a respondent persisted in not
responding and again tried to progress, rather than kick them out of the survey, they would
be allowed to progress to the next section in the interest of obtaining the maximum amount
of information that they were willing to share. Respondents were not made aware of this
possibility in advance, and in practice such “opting out” of a particular question was seldom
done (less than 1% of responses for the average question). This is the reason that small
variations are sometimes observed in the total number of respondents for certain questions.

A pilot version of this survey was first fielded in Vermont as part of a research project
aimed at documenting firearms ownership and firearms use rates in that specific state. The
Vermont survey served as a proof of concept for the national version, demonstrating that
this survey is a viable instrument for eliciting responses from firearms owners with both
high response rates and low disqualification rates. The results of the Vermont survey are
presented separately in Appendix A of this report and closely mirror national results.

This report focuses on providing descriptive statistics of answers to the major questions
asked in the survey. Future research will examine responses, and relationships between them,
in more detail. The report proceeds as follows: the next (second) section summarizes national
firearms ownership estimates and demographics; the third section examines defensive uses of
firearms; the fourth section examines question regarding carrying for self-defense; the fifth

section summarizes ownership statistics, and the sixth section concludes.

2 Gun Ownership Demographics

e About a third of adults in the U.S. report owning a firearm, totaling about 81.4 million

adult gun owners.
e 57.8% of gun owners are male, 42.2% are female.

e 25.4% of Blacks own firearms.

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e 28.3% of Hispanics own firearms.
e 19.4% of Asians own firearms.

e 34.3% of Whites own firearms.

With raked weighting employed for gender, state, income, race, and age we find that
32.5% of US adults age 21 and over own a firearm (95% Confidence Interval, 32.1 - 32.9%).
Expanding the sample population to include those age 18-20, who are restricted in some
states from purchasing firearms, 31.9% of US adults age 18 and over own firearms (95%
Confidence Interval, 31.5% - 32.3%). This is slightly above, but consistent with, the most
recent in-depth survey of firearms ownership conducted by Pew in 2017 before the Covid-19
pandemic, which found that 30% of adults in America own a firearm (Brown, 2017). It is
also consistent with recent Gallup polling in 2020 and 2021, which found that 32% and 31%
of adults personally own a firearm (Gallup, 2021).

As a benchmark to assess the accuracy of the teaser question used to ascertain firearm
ownership, we can also compare ownership rates of other items reported by respondents for
this question. We find 52% of respondents indicating owning a bicycle, which closely matches
Pew’s finding that 53% of Americans own a bicycle, according to a poll conducted in 2014."

The distribution of gun owners surveyed by state is illustrated in Figure 1, and ranges
from 1,287 in California and 1,264 in Texas to 26 in Washington, DC and 24 in North Dakota.

Table 1 shows the proportion of the population in each state estimated to own a firearm.
Massachusetts, Hawaii, Rhode Island, and New Jersey have the lowest rates of ownership
with less than 20% of the adult population owning firearms, while Kentucky, Montana, West
Virginia, and Idaho have the highest rates of ownership with more than 45% of the adult
population owning firearms.

With regard to the demographics of gun ownership, we find that 57.8% of gun owners
are male and 42.2% are female, the average age of gun owners is 46-50 years old, and the
average annual household income is $80,000-$90,000. Approximately 18% of gun owners do
not identify as White (alone). Overall, approximately 10.6% of gun owners identify as Black,

"See https://www.pewresearch. org/fact-tank/2015/04/16/car-bike-or—motorcycle-depends-

on-where-you-live/

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Figure 1: Distribution of Firearms Owners Surveyed

3.6% identify as Asian, 1.6% identify as American Indian, .2% identify as Pacific Islander,
82.0% identify as White, and 2.0% identify as Other. When analyzed within racial groups,
we find that 25.4% of Blacks own firearms, 28.3% of Hispanics own firearms, 19.4% of Asians
own firearms, and 34.3% of Whites own firearms.

According to the latest (2019) census estimates, there are approximately 255,200,373
individuals age 18 and over in the U.S., which implies that there are about 81.4 million
adult gun owners.’ Note that this figure does not include those under the age of 18 who
may use or possess firearms for purposes such as hunting or shooting sports.

In sum, firearms ownership is widespread, and firearms owners are diverse.

3. Defensive Use of Firearms

e 31.1% of gun owners, or approximately 25.3 million adult Americans, have used a gun

in self-defense.
e In most cases (81.9%) the gun is not fired.
e Gun owners engage in approximately 1.67 million defensive uses of firearms per year.

e The majority of defensive gun uses take place outside of the home (74.8%).

8Census date is available at https: //www2.census.gov/programs-surveys/popest/tables/2010-

2019/national/asrh/nc-est2019-syasexn.xlsx

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Proportion of adult population

State estimated to own firearms 95% Confidence Interval
Alabama 39.6% 35.2% — 44.1%
Alaska 33.4% 25.7% — 42.1%
Arizona 32.0% 28.8% — 35.4%
Arkansas 36.6% 31.1% — 42.5%
California 25.5% 24.0% — 27.0%
Colorado 33.6% 29.8% — 37.7%
Connecticut 20.2% 16.8% — 24.1%
Delaware 24.7% 18.9% — 31.6%
District of Columbia 23.9% 15.6% — 34.9%
Florida 80.3% 28.5% — 32.2%
Georgia 387.1% 34.5% — 39.9%
Hawaii 16.4% 10.6% — 24.5%
Idaho 54.5% 45.5% — 63.1%
THlinois 26.5% 24.8% — 28.9%
Indiana 40.38% 36.6% — 44.1%
Iowa 33.2% 28.1% — 38.8%
Kansas 42.8% 87.4% — 48.3%
Kentucky 46.7% 42.6% — 50.8%
Louisiana 32.8% 28.0% — 38.0%
Maine 35.9% 29.7% — 42.6%
Maryland 21.7% 18.5% — 25.2%
Massachusetts 15.8% 13.4% — 18.6%
Michigan 34.7% 32.0% — 37.5%
Minnesota 32.5% 28.4% — 36.8%
Mississippi 39.5% 33.5% — 45.8%
Missouri 39.7% 36.2% — 43.4%
Montana 48.4% 38.7% — 58.3%
Nebraska 37.2% 29.8% — 45.2%
Nevada 38.0% 32.8% — 43.4%
New Hampshire 24.1% 18.4% — 30.9%
New Jersey 19.3% 16.9% — 22.0%
New Mexico 33.8% 25.9% — 42.7%
New York 22.7% 21.38% — 24.2%
North Carolina 37.3% 34.5% — 40.2%
North Dakota 42.6% 29.9% — 56.4%
Ohio 33.7% 31.1% — 36.4%
Oklahoma 40.5% 36.2% — 45.0%
Oregon 38.3% 32.7% — 44.2%
Pennsylvania 30.3% 28.1% — 32.6%
Rhode Island 16.9% 11.4% — 24.2%
South Carolina 40.7% 86.5% — 45.1%
South Dakota 39.2% 32.4% — 46.4%
Tennessee 43.0% 39.5% — 46.6%
Texas 36.0% 34.1% — 38.0%
Utah 42.8% 36.1% — 49.8%
Virginia 30.6% 27.6% — 33.7%
Washington 32.8% 29.3% — 36.4%
West Virginia 53.0% 45.6% — 60.2%
Wisconsin 33.3% 29.9% — 36.9%
Wyoming 42.7% 84.5% — 51.2%

Table 1: Proportion of the population estimated to own a firearm in each state.

e About half of defensive gun uses involve more than one assailant (51.2%).
e Handguns are the firearm most commonly used in defensive incidents (65.9%), followed

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by shotguns (21.0%) and rifles (13.1%).

Defensive use of firearms was assessed through a series of questions that asked for in-
creasingly detailed information from those who indicated that they had used a firearm in
self-defense.

First, all gun owners were asked, “Have you ever defended yourself or your property with
a firearm, even if it was not fired or displayed? Please do not include military service, police
work, or work as a security guard.” About a third (31.1%) answered in the affirmative, and
they were then asked how many times they defended themselves with a firearm (from “once”
to “five or more times”). As Figure 2 shows, a majority of gun owners who have used a

firearm to defend themselves have done so on more than one occasion.

Have you ever defended yourself or your property with a firearm, [For those indicating Yes.] How many times have you
even if it was not fired or displayed? Please do not include military defended yourself or your property with a firearm, even if
service, police work, or work as a security guard. it was not fired or displayed? Again, please do not include

military service, police work, or work as a security guard.

Once 44.1%

Twice 32.7%

_ Three times 12.6%

: Four times 2.8%
Five or more times 7.8%

Figure 2: Defensive Gun Use: 31.1% of firearms owners have defended themselves of their

property with a gun, and a majority have done so more than once.

Both men and women report having used firearms in self-defense at high rates, with 33.8%
of male gun owners indicating they have defensively used a gun, and 27.3% of female gun

owners indicating they have defensively used a gun. Table 2 further breaks down reports of

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defensive use of firearms by categories of race and ethnic ancestry, illustrating that defensive

gun use rates are higher in some minority groups.

Proportion of Gun Owners 95% Confidence

Who Used Gun Defensively Interval

Demographic Group

White 29.7% 29.0% — 30.5%
Black 44.3% A1.2% — 47.5%
Asian 26.0% 21.7% — 30.9%
Native American 47.7% A2.7% — 52.7%
Pacific Islander 37.1% 26.0% — 49.7%
Other Ethnic Ancestry 36.2% 30.3% — 42.7%
Hispanic (any ancestry) 39.3% 36.0% — 42.8%
Male 33.8% 32.8% — 34.8%
Female 27.3% 26.2% — 28.4%

Table 2: Demographics of defensive gun use.

Given that 31.1% of firearms owners have used a firearm in self-defense, this implies
that approximately 25.3 million adult Americans have defended themselves with a firearm.
Answers to the frequency question suggest that these gun owners have been involved in a total
of approximately 50 million defensive incidents. Assuming that defensive uses of firearms
are distributed roughly equally across years, this suggests at least 1.67 million defensive uses
of firearms per year in which firearms owners have defended themselves or their property
through the discharge, display, or mention of a firearm (excluding military service, police

work, or work as a security guard).°

°This is calculated by taking the total number of defensive incidents represented by the survey responses
(50 million) and dividing by the number of adult years of the average respondent, which is 30. According
to U.S. Census data, the average age of U.S. adults (i.e. the average age of those in the set of everyone 18
years or older) is 48, which also matches our survey data. Thus, the average respondent of the survey has 30
years of adult experience (48 years - 18 years = 30 adult years), over which the defensive incidents captured
in this survey are reported.

Note that this estimate is inherently conservative for two reasons. First, it assumes that gun owners
possessed firearms, or had access to firearms, from the age of 18. In so far as firearms were only first ac-

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Fired the gun 4 L 18.1 r

Showed the gun without firing + : - es a . 50.9 r

Neither e.g. told someone you had a gun 4 bes

10 20 30 AQ 50 60
Did you fire your gun, show it, or neither? (%)

Figure 3: How Guns are Employed in Self-defense: In most defensive incidents no shots are

fired.

Gun owner respondents were asked to answer detailed questions regarding each defensive

quired/accessed by some respondents in later years, this would reduce the number of adult firearms owning
years represented by the survey responses and result in a higher estimate of the number of defensive inci-
dents per year. Second, this figure only captures defensive gun uses by those currently indicating firearms
ownership. According to Kleck and Gertz (1995), only 59.5% of respondents who reported a defensive gun
use personally owed a gun (p.187). This would suggest that the true number of defensive gun uses, if those
who do not personally own firearms are included in the estimate, could be substantially higher - perhaps as
high as 2.8 million per year.

This approach is also robust to critiques that have been made by Hemenway (1996) and others who argue
that defensive gun use estimates from surveys can be exaggerated due to recollection bias when respondents
are asked to recount incidents within a limited time period. The intuition behind these critiques is that if
respondents are asked, for example, if they used a gun defensively within the last year, there is a possibility
that people will respond affirmatively if they used a gun in self-defense in recent memory, even if that incident
wasn’t strictly within the last 12 months. This could lead to inflated “per year” estimates of defensive gun
uses, which would only be further magnified when extrapolated out to total defensive gun uses over many
years. However, the approach of this survey is not vulnerable to this critique because the survey asks about
defensive gun use at any time, not simply those within the last year or some other short time horizon.
We thus do not engage in the exercise of extrapolating out estimates from potentially biased measures of
comparatively rare events in a restricted window of time. Rather our approach asks questions about defensive
gun use in the manner that is most methodologically sound for eliciting unbiased estimates.

Finally, note that our overall approach assumes that children are not employing firearms for self-defense

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incident that they reported. As Figure 3 shows, in the vast majority of defensive gun uses
(81.9%), the gun was not fired. Rather, displaying a firearm or threatening to use a firearm
(through, for example, a verbal threat) was sufficient. This suggests that firearms have a
powerful deterrent effect on crime, which, in most cases, does not depend on a gun actually
being fired or an aggressor being injured.

Figure 4 shows where defensive gun uses occurred. Approximately a quarter (25.2%) of
defensive incidents took place within the gun owner’s home, and approximately half (53.9%)
occurred outside their home but on their property. About one out of ten (9.1%) of defensive

gun uses occurred in public, and about one out of thirty (3.2%) occurred at work.

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Outside my home but on my property + |.

Inside another person’s home or on their property -
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Other

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Where did the incident occur? (%)

Figure 4: The Location of Defensive Incidents: Most take place outside the home.

For each incident, respondents were asked to indicate what sort of firearm was used.
Figure 5 show the distribution of types of firearms employed in defensive incidents. Handguns
were the most commonly used firearm for self-defense, used in nearly two-thirds (65.9%) of
defensive incidents, followed by shotguns (21.0%) and rifles (13.1%).

Respondents were also asked to indicate how many assailants were involved in each de-

with any meaningful frequency. However, for the purpose of sensitivity analysis, if we lower the age used
for calculating defensive incident frequency to assume that children as young as 12 years old are commonly
possessing and using firearms for self-defense (and no non-firearms owning adults used firearms for self-
defense), this would still imply 1.39 million defensive uses of firearms per year (48 years - 12 years = 36 years

over which 50 million defensive incidents took place).

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Shotgun + — 42 LL
Rifle} | 13.1 -

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What sort of firearm did you use during this incident? (%)

Figure 5: Type of Gun Used for Defense: Handguns are the most common type of firearm

used in defensive encounters, followed by shotguns and rifles.

fensive incident. As Figure 6 illustrates, about half of defensive encounters (51.2%) involved
more than one assailant. Presumably, part of the value of using a firearm in self-defense
is that it serves as a force multiplier against more powerful or more numerous assailants.
Survey responses confirm that encountering multiple assailants is not an infrequent occur-
rence in defensive incidents. 30.8% of defensive incidents involved two assailants, and 20.4%
involved three or more, while slightly less than half (48.8%) involved a single assailant.
Finally, after respondents answered these detailed questions about each defensive inci-
dent, which all flowed from their initial affirmative answer to the question, “Have you ever
defended yourself or your property with a firearm, even if it was not fired or displayed?” ,
all gun owners were asked, “Separate from any incident in which you directly used a gun to
defend yourself, has the presence of a gun ever deterred any criminal conduct against you,
your family, or your property?” This question was meant to capture incidents that did not
involve active self-defense, but for which individuals believed that the presence of a firearm
helped deter predatory behavior. For example, a situation in which a combative customer
calmed down after noticing that shop owner had a handgun on his or her hip, or a situation
in which a trespasser cooperatively left a property when questioned by a landowner who had

a rifle slung over his or her shoulder, or a situation in which a friend showed up with a firearm

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Three 4 11.9 |

Four | | |3.9 }

Five or more 4 || 3.2 -
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How many assailants were involved? (%)

Figure 6: Distribution of the Number of Assailants Involved in a Defensive Incident: Multiple

assailants are common.

to help diffuse a dangerous situation, could fall into this category. Respondents answering in
the affirmative could indicate how many times such deterrence occurred, from once to five or
more occasions. As Figure 7 illustrates, separate from the self-defense incidents summarized
earlier, 31.8% of gun owners reported that the mere presence of a gun has deterred criminal
conduct, and 40.2% of these individuals indicated that this has happened on more than one
occasion. Extrapolated to the population at large, this suggests that approximately 25.9
million gun owners have been involved in an incident in which the presence of a firearm
deterred crime on some 44.9 million occasions. This translates to a rate of approximately

1.5 million incidents per year for which the presence of a firearm deterred crime.

4 Carry Outside of the Home

e A majority of gun owners (56.2%) indicate that there are some circumstances for which

they carry a handgun for self-defense.

e Approximately 26.3% of gun owners, or 20.7 million individuals, carry handguns for

defensive purposes under a “concealed carry” regime.
e About a third of gun owners (34.9%) have wanted to carry a handgun for self-defense

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Separate from any incident in which you directly used a gun to defend yourself, has the presence of a gun ever
deterred any criminal conduct against you, your family, or your property?

[If Yes.]

Yes, once 59.8%

— Yes, twice 23.2%

/ Yes, on three ocassions 8.1%
=~ Yes, on four occasions 1.5%

L Yes, on five or more occasions 7.4%

(Note- to ald comparison with the earller figure, bar percentages reflect the proportion of
those who gave a particular affirmative answer compared to the total number of respondents
who gave an affirmative answer, | e, this Is the breakd of )

Figure 7: Frequency with which Firearms Deter Crime: 31.8% of firearms owners report that
the presence of a firearm has deterred criminal conduct against them, often on more than

one occasion.

in a particular situation but local rules prohibited them from doing so.

As Figure 8 illustrates, a majority of gun owners (56.2%), or about 45.8 million, indicate
that there are some circumstances in which they carry a handgun for self-defense (which can
include situations in which no permit is required to carry, such as on their own property);
and about 35% of gun owners report carrying a handgun with some frequency (indicating
that they carry “Sometimes,” “Often,” or “Always or almost always.” ). Moreover, as Figure
9 summarizes, 34.9% of gun owners report that there have been instances in which they
wanted to carry a handgun for self-defense, but local rules did not allow them to carry.

Assessing the number of people who carry a concealed handgun in public is complicated
due, in part, to the proliferation of so-called “constitutional carry” or “permitless carry”
states in recent years. These states - about 18 at the time this survey was conducted -

generally allow adults in good legal standing (often restricted to those age 21 and older) to

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How often do you carry a handgun, either concealed or open, for self-defense?
(This can include situations where no permit is required to carry.)

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Always or almost always ee 9.1% :
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Sometimes i90% '
Only in particularly dangerous circumstances 21.2%

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Figure 8: Frequency of Defensive Carry: Carrying a handgun for self-defense is common.

Have you ever wanted to carry a handgun for self-defense
but local rules did not allow you to carry?

Figure 9: Prohibition of Carry: About a third of gun owners have wanted to carry a handgun

for self-defense in a particular situation but local rules prohibited them from doing so.

carry a concealed weapon without a permit. Most of these states previously had a permitting

process for concealed carry and required permits to be renewed at regular intervals in order

to remain valid. Under constitutional carry, law abiding adults in these states are permitted

to carry concealed without an official “permit.” However, most of these states continue to

issue permits to residents who desire them because such permits can be useful for reciprocal

carry benefits in other states. For example, a person acquiring a Utah carry permit would

be entitled to carry a handgun in a number of other states such as neighboring Colorado and

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Nevada.!° Thus, while basically all gun owners age 21 and over are “permitted” to carry a
handgun for self-defense in constitutional carry states, many individuals may also possess a
“permit,” even though it is redundant for in-state carry.

Unsurprisingly, when asked “Do you have a concealed carry permit?” gun owning res-
idents of many constitutional carry states respond in the affirmative at high rates. Also
complicating this question about concealed carry permits is the fact that many states re-
fer to such permits by different names, the fact that the right to carry a handgun can be
conferred in certain circumstances by hunting or fishing licenses in some states,'4 and the
existence of other related permits, some of which do not license concealed carry (e.g. stan-
dard pistol permits in North Carolina or New York, eligibility certificates in Connecticut)
and some of which do (most License To Carry permits required for handgun ownership in
Massachusetts, state pistol permits in Connecticut, and LEOSA permits available to current
and retired law enforcement officers nationwide). Finally, it is also possible for individuals
to obtain concealed carry permits in states other than the one in which they reside.

In order to provide a robust but conservative estimate of those who actually carry in
public, we code as “public carriers” those individuals who indicated both that they have a
concealed carry permit and that they carry a handgun for self-defense at least “sometimes.”
We also restrict analysis and population estimates to those age 21 and over given that most
states restrict those under 21 from carrying concealed in public.

Using this simple definition, we find that 26.3% of gun owners are “public carriers,” which
translates to approximately 20.7 million individuals who carry handguns in public under a
concealed carry regime. Note that this could include current and former law enforcement
officers who may be represented in the survey. However, the number of active law enforcement

officers in the U.S. is well under a million (approximately 700,000 in 2019).

10See https: //bci.utah. gov/concealed-firearm/reciprocity-with-other-states/
11For example, a number of states such as California, Georgia, and Oregon allow those with a hunting or

fishing license to carry concealed while engaged in hunting or fishing or while going to or returning from an ex-
pedition. See: https: //oag.ca.gov/sites/all/files/agweb/pdfs/firearms/pdf/cf12016.pdf, https:
//law.justia.com/codes/georgia/2010/title-16/chapter-11/article-4/part-3/16-11-126/,

https://codes.findlaw.com/or/title-16-crimes-and-punishments/or~rev-st-sect-166-260. html
12See https: //ucr.fbi.gov/crime-in-the-u.s/2019/crime-in-the-u.s.-2019/tables/table-74

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5 Types of Firearms and Magazines Owned

e 82.7% of gun owners report owning a handgun, 68.8% report owning a rifle, and 58.4%

report owning a shotgun.
e The average gun owner owns about 5 firearms. The median gun owner owns 3.
e 29.0% of gun owners own only one firearm.

e 30.2% of gun owners, about 24.6 million people, have owned an AR-15 or similarly

styled rifle, and up to 44 million such rifles have been owned.

e 48.0% of gun owners, about 39 million people, have owned magazines that hold over

10 rounds, and up to 542 million such magazines have been owned.

e Overall, Americans own in excess of 415 million firearms, consisting of approximately

171 million handguns, 146 million rifles, and 98 million shotguns.

5.1 Rifles, Shotguns, and Handguns

Respondents were asked to indicate the number of rifles, shotguns, and handguns that they
owned. 82.7% of gun owners report owning a handgun (95% CI 82.0% - 83.3%), 68.8%
reported owning a rifle (95% CI 68.1% - 69.6%), and 58.4% report owning a shotgun (95%
CI 57.6% - 59.2%). Note that using survey weights based on in-survey demographics of
firearms ownership has no substantive effect on these estimates: Handgun, 83.7% (82.9% -
84.4%), Rifle, 68.6% (67.7% - 69.6%), Shotgun 58.6% (57.6% - 59.6%).

Approximately 99.8% of respondents indicated owning fewer than 100 firearms of each
type, and approximately 97.2% indicated owning fewer than 10 firearms of each type. In order
to provide a conservative estimate of ownership rates and to ensure that average estimates
are not skewed by a small number of large outliers, we exclude the 0.2% of responses that
indicated owning over 100 firearms in any category in the analysis that examines average
numbers of guns owned. Also, 1.5% of respondents entered zero for each category of firearms
ownership. While ostensibly inconsistent with having earlier indicated ownership of a firearm,

there are a number of plausible explanations for this discrepancy including a reluctance to

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20 40 60 80 =: 100
Percentage of gun owners reporting ownership of at least one firearm in the indicated category.

Figure 10: Percent of gun owners who own each type of firearm.

provide this level of detailed information, having use of a firearm in one’s household which
one does not personally own, or owning a firearm that technically does not fall into one
of these three categories. We exclude these response in analyzing ownership rates below.
However, including them has no significant effect on estimates.

On average, gun owners owned 5.1 firearms, consisting of 1.8 rifles, 1.2 shotguns, and
2.1 handguns. Figure 11 plots histograms of the number of firearms owned by respondents.
Unsurprisingly, these are skewed right, indicating that most gun owners own a small number
of guns, while a smaller portion of gun owners own a large number of guns. The median gun
owner owned 8 firearms. 29.0% of firearms owners owned only one firearm.’? Among those
who only own one firearm, handguns are the most commonly owned type of gun (64.7%),
followed by rifles (22.5%) and shotguns (13.3%).

Overall, these estimates imply that Americans own over 415 million firearms, consisting

of approximately 171 million handguns, 146 million rifles, and 98 million shotguns.

13 An earlier draft had estimated that 21.9% of gun owners owned only one firearm, but the denominator
for that calculation mistakenly included respondents who did not provide an answer to this question. The

estimate of 29.0% properly incorporates all information provided by respondents.

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Density

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4 5 6
Number of Rifles Owned Number of Shotguns Owned

(a) Histogram of number of rifles owned (b) Histogram of number of shotguns owned

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0 1 2 3 4 5 6 7 8 9 10 123 4 5 6 7 8 9 10 11 12 13 14 15 16 17 18 19 20
Number of Handguns Owned Total Number of Firearms Owned
(c) Histogram of number of handguns owned (d) Histogram of total number of guns owned

Figure 11: Histograms showing the distributions of gun ownership.

5.2 Magazine Ownership

The survey asked respondents whether they have ever owned a magazine that holds more
than 10 rounds. Those who answered in the affirmative were then asked to indicate the
purposes for which they owned such magazines and to estimate how many magazines of
different types they owned.

48.0% of gun owners (95% CI 47.2%-48.7%) responded yes to the question, “Have you
ever owned a handgun or rifle magazine that holds more than 10 rounds? (You can count
magazines that you may keep in another state if there are local restrictions against own-

”

ership.)” indicating that they had owned such magazines. Note that, again, using survey

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weights based on in-survey demographics of firearms ownership has no substantive effect on
this estimate (47.4%, CI 46.5%-48.4%). This suggests that approximately 39 million adults

in the U.S. have owned magazines that hold more than 10 rounds.

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Defense outside the home + oe : | 41.7 t

Home defense} | «62.4 F

Competitive shooting sports 4 27.2 Fr

Recreational target shooting + | OO  * | 64.3 F

Hunting 4 | POTN | 47 F

Other [] 3.9 \

0 20 40 60 80 100
Percentage indicating each factor was a reason for ownership.

Figure 12: Purposes indicated for owning 11+ capacity magazines.

Figure 12 shows the percentage of respondents who indicated that they owned magazines
that can hold more than 10 rounds for the following purposes: defense outside the home
(41.7%), home defense (62.4%), competitive shooting sports (27.2%), recreational target
shooting (64.3%), hunting (47.0%), and other (3.9%). Note that respondents could choose
multiple purposes for which they owned such magazines. Home defense and recreational
target shooting were the two most common reasons indicated for owning these magazines,
with approximately two-thirds of respondents identifying each of these as a rationale for
ownership.

Respondents who indicated that they had owned magazines that can hold more than 10
rounds were also asked to estimate the number of pistol and rifle magazines they owned of
particular sizes. Numerical responses were unbounded. Approximately 99.8% of respondents
indicated owning fewer than 100 magazines of each type, and approximately 96.5% indicated
owning fewer than 10 magazines of each type. In order to provide a conservative estimate of
ownership rates and to ensure that average estimates are not skewed by a small number of

large outliers, we exclude the 0.2% of responses that indicated owning over 100 magazines

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in a category.

10 rounds or less] * 3.1 b

11-15 rounds] «4.2.5 L

More than 15 rounds 4 — : oe oe LAA +

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2 25 3 35 4 45 5 55
Average number of handgun magazines owned by capacity.

Figure 13: About how many handgun magazines of each type would you estimate you have

owned?

Figure 13 shows the average number of handgun magazines of each type reported by
respondents in this section: 10 rounds or less (3.1 magazines), 11-15 rounds (2.5 magazines),
more than 15 rounds (4.4 magazines). In sum, the average respondent (who indicated that
they have owned a magazine that holds more than 10 rounds), owns about 10 handgun
magazines, and more than two-thirds of these magazines hold more than 10 rounds. Note
that the question asked whether respondents have ever owned such magazines and how
many such magazines they have owned, so these estimates should be interpreted as an upper
bound on current ownership given that some magazines may have been resold. Building on
earlier estimates, this suggests that U.S. gun owners have owned up to 269 million handgun
magazines that hold over 10 rounds.

Figure 14 shows the average number of rifle magazines of each type reported by respon-
dents in this section: 10 rounds or less (2.4 magazines), 11-15 rounds (1.8 magazines), over
15 rounds (5.4 magazines). In sum, the average respondent (who indicated that they have
owned a magazine that holds more than 10 rounds), owns about 9.6 rifle magazines, and
about three-quarters of these magazines hold more than 10 rounds. Building on earlier esti-

mates, this suggests that U.S. gun owners have owned up to 273 million rifle magazines that

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hold over 10 rounds.

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10 rounds or less - 2.4 -

11-15 rounds ~ 1.8 LE

More than 15 rounds + ey we > 5.4 t

1 2 3 4 5 6
Average number of rifle magazines owned by capacity.

Figure 14: About how many rifle magazines of each type would you estimate you have

owned?

These estimates suggest that Americans have owned some 542 million rifle and handgun
magazines that hold over 10 rounds. Finally, note that these questions about the types of
magazines owned were only asked of those who indicated that they had owned a magazine
that holds more than 10 rounds, and thus we do not know how many magazines up to 10
rounds are owned by the 52.0% of gun owners who are not in this category.

Table 3 shows the breakdown of ownership of magazines that hold over 10 rounds across
different demographic segments.

Table 4 shows the percentage of gun owners in each state who indicated that they have
owned magazines that hold more than 10 rounds. Note that this question explicitly instructed
respondents that “You can count magazines that you may keep in another state if there are
local restrictions against ownership.” This presumably explains the relatively high rates
of ownership in states that restrict the purchase or ownership of such magazines. It’s also
possible that those answering in the affirmative possess magazines that were grandfathered
in because they were acquired before such bans or that some respondents have gotten rid of
magazines that they owned in the past.

Another dynamic that likely contributes to such differences in ownership rates derives

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. Proportion 95% Confidence
Demographic Group

Owned 11+ Mags Interval

White 47.0% 46.1% — 47.8%
Black 55.2% 52.2% — 58.2%
Asian 50.0% 44.8 — 55.2%

Native American 52.6% 47.7% — 57.4%
Pacific Islander 59.1% 47.4% — 69.9%
Other Ethnic Ancestry 59.6% 53.3% — 65.6%
Hispanic (any ancestry) 61.6% 58.3% — 64.7%
Male 57.7% 56.7% — 58.7%
Female 34.1% 33.0% — 35.3%

Table 3: Demographics of ownership of magazines that hold more than 10 rounds.

from the fact that in states with low rates of firearms ownership, such as DC and Hawaii,
those few individuals who do own guns are presumably more likely to be gun enthusiasts.
Indeed, analysis of the survey data reveals that states with higher rates of firearms ownership
are associated with slightly lower rates of ownership of magazines that own over 10 rounds,
and this difference is statistically significant (coef = -0.36, p=.03).

Given that such a large percentage of gun owners indicated that they owned magazines
that hold over ten rounds for defensive purposes, we further analyze the potential value of
these magazines for defense. Recall that a majority of defensive incidents involved multiple
assailants (51.2%). Presumably, it would be advantageous to have a firearm with a larger
capacity magazine if one needed to engage more than one assailant, which these responses
suggest is indeed common. Although in most defensive gun uses the gun was not fired
(81.9%), we can further analyze the subset of incidents in which a gun was fired. In 67.8%
of these cases in which a gun was fired in self defense, multiple rounds were fired.

As part of the self-defense section of the survey, respondents were invited to answer
an open response question that asked: “Have you ever been in a situation (including any

referenced in earlier responses) in which it would have been useful for defensive purposes

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State Owned 11+ cap. mags 95% Confidence Interval
Alabama 48.1% 42.7% — 538.6%
Alaska 52.7% 39.6% — 65.4%
Arizona 47.5% 42.3% — 52.8%
Arkansas 50.7% 44.1% — 57.3%
California 53.8% 51.0% — 56.5%
Colorado 51.4% 45.3% — 57.4%
Connecticut 42.6% 384.4% — 51.38%
Delaware 50.6% 39.8% — 61.5%
District of Columbia 69.2% 49.5% — 83.8%
Florida 46.9% 43.9% — 49.8%
Georgia 52.4% 48.7% — 56.2%
Hawaii 59.3% 40.3% — 75.8%
Idaho 45.4% 386.7% — 54.4%
Illinois 51.5% A7.38% — 55.6%
Indiana 46.5% 41.8% — 51.2%
Iowa 385.4% 28.0% — 43.6%
Kansas 42.2% 35.4% — 49.4%
Kentucky 43.7% 38.5% — 49.0%
Louisiana 47.4% 41.1% — 53.8%
Maine 37.9% 28.7% — 48.0%
Maryland 50.8% 43.7% — 57.8%
Massachusetts 53.3% 45.7% — 60.8%
Michigan 37.1% 33.2% — 41.1%
Minnesota 39.8% 34.0% — 46.0%
Mississippi 44.6% 37.38% — 52.2%
Missouri 50.6% 45.8% — 55.5%
Montana 52.6% 39.8% — 65.1%
Nebraska 45.5% 35.9% — 55.3%
Nevada 61.0% 52.8% — 68.5%
New Hampshire 43.9% 31.6% — 56.9%
New Jersey 52.2% 46.5% — 57.8%
New Mexico 49.2% 36.9% — 61.5%
New York 54.9% 51.8% — 58.0%
North Carolina 43.9% 39.9% — 47.9%
North Dakota 44.4% 24.0% — 67.0%
Ohio 42.0% 88.4% — 45.7%
Oklahoma 47.5% 41.7% — 53.4%
Oregon 49.8% 42.9% — 56.6%
Pennsylvania 39.6% 36.0% — 43.2%
Rhode Island 55.38% 39.5% — 70.1%
South Carolina 42.8% 37.7% — 48.0%
South Dakota 50.0% 40.2% — 59.8%
Tennessee 44.1% 39.5% — 48.7%
Texas 54.1% 51.3% — 56.8%
Utah 46.8% 38.2% — 55.6%
Virginia 47.5% 42.7% — 52.4%
Washington 53.1% 47.8% — 58.4%
West Virginia 44.8% 37.7% — 52.1%
Wisconsin 33.6% 28.5% — 39.0%
Wyoming 63.0% 51.4% — 73.3%

Table 4: Percent of gun owners who have indicated that they have ever owned magazines
that hold over 10 rounds by state. Note that this includes magazines that an owner holds

in other states if there are local ownership restrictions.

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to have a firearm with a magazine capacity in excess of 10 rounds? If so, please briefly
describe that situation.” Approximately 550 respondents gave a affirmative response with
most sketching out details of the encounter. Examples of these responses (reported verbatim)

include:

e [ got jumped by multiple people in a carjacking in front of our apartments with my

wife and children.

e Yes. I was robbed on a street 1 time by a group of about 6 people that at least 1 was
armed and I wasn’t. It took about 6 hours of emergency surgery to gat my bones in
face jaws and skull back in place form being beaten in the head face kicked all over.

Damn near killed me.

e Yes, a man broke into our apartment, high. He was approx 6’4, 300 pounds & threw

a friend of ours around the living room like a rag doll. Beat her repeatedly.

e Yes. The first incident I mentioned. Three men attempted to rob me outside my home,
with the intention of entering my home thereafter. My wife and child were inside the
home at the time. That was in California with a magazine that only held 7 shots. I
am a great shot, prior military and other firearms training, but I hate to only have 7
shots with three people. In such a situation, very well trained people, pumped up with

adrenalin can and do miss their target. Thank you.

e Yes, absolutely. I am mobility challenged and was walking my dog one day. Three men
ambushed me from behind, but luckily my dog chased them away. My dog actually

bit one of the men.

e On the farm, we have had mountain lions killing our calves so a larger animal could

require more rounds
e When two people attacked my company’s warehouse
e Yes, I was alone with my son and 3 large men were trying to break in, I was unable to

reload, thank goodness they realized and left.

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e | was charged by a bear. It was very scary in the moment I panicked and rattled over

multiple shots. Most missed but some hit home and eventually stopped him.

e Yes. I went in but into a store and 4 thugs approached me telling me to give them
money. I produced my handgun at my side and they left. If this had been a shooting

with multiple bad guys with guns a 15 round magazine is best.

When I was a teenager 4 guys did a home invasion at our house. I could easily see
needing a 20 to 30 round clip would be necessary.. we didnt have weapons and my
mom and dad were hurt pretty bad. Dad was stabbed 4 times and they had a gun too.

Thats when I decided when I was on my own that I would have protection.

About 20 coyotes attacked some of my livestock. It took two 30 round magazines to

repel the animals and then only after killing 10 of them.

Yes. I was surrounded by would-be assailants in a perking lot. I was able to escape
unharmed, but if they had rushed me, I would most certainly had to lay down a rapid
field of fire, alternately in various directions. In that scenario, I probably would have
missed the targets and needed multiple, rapid follow-up shots to hit or at least dissuade
the attackers from pressing forward. Only a firearm with 10 or more round magazine

would offer that kind of defensive capability.

e Had several people trespass on my property doing something illegal and when I called
the police said it would be a while before they could come out so when I asked the
people to leave they threatened to kill me but after they seen that I was open carry
the left if the situation went a different way I dont know if I would have been about

to protect myself with as many of them as there was

e The time when there were 4 people in my home and I was fearful of being hurt and
my concern was do I have enough rounds to protect: myself what if I missed if I had to

fire the weapon .

e Yes. Been stalked by a pack of coyotes while hiking with my children

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e Yes when J had more than one person trying to break into my car. I live out in the
country so I do not have time to wait for police to get to me I have to act fast and

protect myself and my family.

e Yes, I ran into a situation where there were numerous criminals breaking the law and
rioting at a public venue during an annual festival event. They were blocking my self
and my friends, two of which were females, from leaving the area as well as preventing
the police from reaching us. I was very glad that I had multiple magazines that had

more then a 10 round capacity.

e 2 men broke into my home while I was sleeping. I woke up and heard them breaking
stuff downstairs. I grabbed my gun and ran down stairs and confronted them. I pointed

my gun at them and told them to get out. They ran off.

e I was stopped at a red light. Car in front of me backed up and the car behind me
pulled up to my bumper. Both drivers got out and approached both sides of my car.
Light turned green. I gassed it pushing the car in front of me out of the way. They

had bats to break my windows. Would’ve robbed me I think. Was under a overpass.

e Twice it was people attempting to break into my home I was alone age 64 and 4 burly
men thought no one was home as I had been napping. They learned quickly this old
lady was not without protection. They saw the gun and quickly left. I called 911
and they were apprended they had been robbing homes for 6 weeks in the area. Those
home who had guns they left and went elsewhere. Another time people a group wanted
a big party came to the wrong road half were drunk or stoned. I had small children.
There was finally someone sober enough to see I had a gun and that I meant business
it was the middle of the night and they wanted to party but had the wrong road. The
sane person got them to all leave and they never came back. We had no phone at that,
time. The third time was a cougar attacking my livestock. It ran off but had killed
4 goats. We called the game warden they had a special hunt and killed it as we had
been the 4th place hit it had killed livestock. We have had cougar on our property in

our yard 3 times since once my son shot one stalking him and his dog the other time

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it ran off before he could get his gun ready.

e yes, but not at home, we were camping in prescott arizona and several men came up
and wanted to harass and steal from our family. We all felt very threatened and if
another couple of people had not shown up with their guns the people would have over

ran us and my family would have been hurt.

e It could have helped during a robbery at my residence where 4 intruders entered my

home

e I was a small business owner before I became disabled. I would often carry large
amounts of cash. On more than 1 occasion I was faced with pulling my weapon or lose

my cash

e I was walking a long distance through Philadelphia to get to a restaurant and was
approached by 3 men who demanded to know why I thought I could go through their
neighborhood. I told them I did not want any trouble and tried to continue walking
but one stood in my way and asked if I actually thought I was going to leave without
answering them. I began to wonder if I was going to be robbed or assaulted when they
first approached and at this point it seemed like they would prevent me from leaving.
I lifted my shirt and placed my hand on a pistol I was legally able to conceal carry
and said yes I would be leaving. They backed away from me but continued to yell
things at me as I left the area. I never pulled the gun out, but them knowing I had
it and may use it to stop them was enough to escape unharmed. Having less than 10
rounds against 3 attackers, especially if they were also armed, would have put me at a
disadvantage if I was unable to accurately hit my targets initially and they continued

to Pursue me.

e Yes, I was in Illinois, which does not honor Indiana concealed carry. I had to leave my
firearm at home. This was truly the only time in my life I felt [ needed to actually
use a firearm, but almost was killed. 4 men (3 with guns displayed and 1 with a knife
in his hand) were walking up to me fast in a parking lot screaming stop and give me

everything you have. The parking lot was near empty, and dark outside. I was able

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to unlock my car while running, start the car and speed off. Just as I got in the car, I
had just enough time to lock the door before the 3 men pointed there guns at the car
and the other was stabbing the window with a knife. They intended to rob and kill
me. I couple rounds were fired as I sped off. I would have needed minimally 10 rounds
if I had discharged given their distancing. I almost died because of Illinois law and my

street smarts and luck was the only thing that saved me

e Yes An incident occurred when a man was drunk and crashed his car in front of me
while I was carrying my 2 small children. A large group of his friends tried to get the
drunk away before the police arrived. A fight started with them punching my elderly

dad and threatened my elderly mother with violence.

e I was confronted then attacked by a group of about 12 teens when I was a teenager.
They kicked me and caused a sever head injury and fractured ribs. I was defenseless.
Being able to brandish a weapon with the capacity to take on a group of that size

would have deterred their next step of physically assaulting me

e The two large males that attempted to break into my home. Much larger than myself.

A 9mm would take several shots to slow down either and/or both.

e Yes. I am a 5’2” disabled female. I was stalked by a homeless drug addict. He was
detained 4-5 times due to red behavior because he was high on methamphetamine.
This person could have potentially done great harm to me. Meth addicts don’t always

go down easy. Sometimes it takes numerous rounds to get them down.

e My brother and I were robbed at gun point when ione of the men got in the car with
me after my brother got out of the car. The man had already told my brother that he
wanted his money and that there were other people watching across the parking lot in
case he had any problems with us. So when my brother got out, that man got in with
a gun and stuck it right into my right side. He told me not to look at him and to give
him all my money. With the other men standing in different positions in the parking

lot my brother could have tried to shoot them (or at them) to try and scare them off

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and if he could have had a larger capacity magazine he could have been able to fire

more rounds at them to keep them away while we tried to get help from someone.

Finally, it is worth noting that, although a majority of these scenarios involve the prospect
of defending against criminal aggression, a number involve defending against animals. The
pilot survey in Vermont similarly documented a number of incidents involving animals (see
Appendix A). This is a phenomenon that has been largely neglected in the scholarly literature
examining the value of firearms for self-defense, and it would be helpful for future research to

evaluate the frequency with which firearms are employed in defense against animal threats.

5.3 Ownership of AR-15 and similarly styled rifles

All gun owners were asked, “Have you ever owned an AR-15 or similarly styled rifle? You
can include any rifles of this style that have been modified or moved to be compliant with
local law.” 30.2% of gun owners, about 24.6 million people, indicated that they have owned
an AR-15 or similarly styled rifle. Using survey weights based on in-survey demographics of
firearms ownership has no effect on this estimate. Respondents were then asked to indicate
how many of such rifles they have owned. Approximately 99.7% indicated owning under
100 and 98.4% under 10. In order to provide a conservative estimate of ownership rates
and to ensure that average estimates are not skewed by a small number of large outliers, we
disregard the 0.3% that indicate owning over 100 in calculating average ownership numbers.
Among those who indicate having owned AR-15 and similarly styled rifles, they indicate
having owned an average of 1.8, with the median owner having owned 1. This suggest that
up to 44 million AR-15 styled rifles have been owned by U.S. gun owners. Note, again, that
this estimate is based on a question that asks whether someone has ever owned such a rifle,
so this estimate should be interpreted as an upper bound on current ownership given that
some rifles may have been resold.

Figure 15 shows the percentage of respondents who indicated that they owned AR-15
styled rifles for the following purposes: defense outside the home (34.6%), home defense
(61.9%), competitive shooting sports (32.1%), recreational target shooting (66.0%), hunting
(50.5%), and other (5.1%). Note that respondents could choose multiple purposes for which

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Defense outside the home + rd 34.6 F
Home defense + | | 61.9 b

Competitive shooting sports + 32.1 +
Recreational target shooting - [ Oe | 66 t
Hunting + | | 50.5 F

Other ~ [| 5.1 F

0 20 40 60 30 100

Percentage indicating each factor was a reason for ownership.
Figure 15: Purposes indicated for owning AR-15 styled rifles.
they owned such firearms. Home defense and recreational target shooting were the two most

common reasons indicated for owning these magazines, with approximately two-thirds of

respondents identifying each of these as a rationale for ownership.

Proportion Owned 95% Confidence
AR-15 Styled Rifle Interval

Demographic Group

White 29.6% 28.9% — 30.4%
Black 34.0% 31.0% — 37.1%
Asian 29.2% 24.6% — 34.2%
Native American 35.4% 30.8% — 40.3%
Pacific Islander 48.4% 36.3% — 60.7%
Other Ethnic Ancestry 34.6% 28.8% — 41.1%
Hispanic (any ancestry) 38.3% 35.0% — 41.8%
Male 36.4% 35.5% — 37.4%
Female 21.3% 20.3% — 22.3%

Table 5: Demographics of ownership of AR-15 styled rifles.

Table 5 shows the breakdown of ownership of AR-15 styled rifles across different demo-

graphic segments. As this table demonstrates, AR-15 styled rifles are commonly owned at

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high rates across many different demographic groups.

Table 6 shows the percentage of gun owners in each state who indicated that they have
owned AR-15 styled rifles. Note that this question explicitly instructed respondents that
“You can include any rifles of this style that have been modified or moved to be compliant
with local law.” Thus, as with magazines, these answers can include firearms that are kept
in other states, as well as firearms that were grandfathered in or modified to be compliant
with local law, or respondents who have since sold or disposed of such guns. This presum-
ably explains the relatively high rates of ownership in states that restrict the purchase or

ownership of such firearms.

6 Conclusion

This report summarizes the main findings of the most comprehensive survey of firearms
ownership and use conducted in the United States to date. While many of its estimates
corroborate prior survey research in this area, it also provides unique insights that are relevant
to timely public policy debates, particularly regarding the defensive use of firearms and the
ownership and use of AR-15 styled rifles and magazines that hold over 10 rounds.

This survey finds firearms ownership rates slightly above those documented before the
Covid-19 pandemic, which is consistent with other recent scholarly research finding a large
surge in firearms purchases during the pandemic, particularly among first time buyers (Crifasi
et al., 2021; Miller et al., 2022).

In sum, about 31.9% of U.S. adults, or 81.4 million Americans, own over 415 million
firearms, consisting of approximately 171 million handguns, 146 million rifles, and 98 million
shotguns. About 24.6 million individuals have owned a up to 44 million AR-15 and similarly
styled rifles, and 39 million individuals have owned up to 542 million magazines that hold
over 10 rounds. Approximately a third of gun owners (31.1%) have used a firearm to defend
themselves or their property, often on more than one occasion, and guns are used defensively
by firearms owners in approximately 1.67 million incidents per year. A majority of gun
owners (56.2%) indicate that they carry a handgun for self- defense in at least some cir-

cumstances, and about 35% of gun owners report carrying a handgun with some frequency.

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State Owned AR-15 Style Rifle 95% Confidence Interval
Alabama 28.9% 24.1% — 34.3%
Alaska 37.0% 24.4% — 51.6%
Arizona 28.8% 24.2% — 34.0%
Arkansas 35.0% 28.7% — 41.8%
California 37.5% 34.8% — 40.2%
Colorado 33.3% 27.7% — 39.5%
Connecticut 21.8% 15.38% — 30.2%
Delaware 20.3% 12.6% — 30.9%
District of Columbia 30.0% 14.1% — 52.7%
Florida 28.1% 25.5% — 30.9%
Georgia 31.4% 27.9% — 35.1%
Hawaii 34.6% 19.1% — 54.3%
Idaho 31.0% 23.3% — 40.0%
Illinois 32.6% 28.7% — 36.7%
Indiana 30.8% 26.5% — 35.5%
Iowa 27.1% 20.4% — 35.1%
Kansas 28.4% 22.4% — 35.4%
Kentucky 29.9% 25.2% — 35.1%
Louisiana 27.5% 22.0% — 33.7%
Maine 22.0% 14.6% — 31.6%
Maryland 29.9% 23.7% — 36.9%
Massachusetts 33.8% 26.9% — 41.4%
Michigan 24.9% 21.5% — 28.6%
Minnesota 20.7% 16 1% — 26.3%
Mississippi 30.4% 23.8% — 38.0%
Missouri 28.0% 23.8% — 32.7%
Montana 26.8% 16.8% — 39.8%
Nebraska 22.4% 15.38% — 31.8%
Nevada 42.4% 34.6% — 50.6%
New Hampshire 23.2% 14.0% — 36.0%
New Jersey 30.7% 25.7% — 36.2%
New Mexico 29.5% 19.4% — 42.1%
New York 37.8% 84.8% — 41.0%
North Carolina 25.6% 22.2% — 29.4%
North Dakota 44.4% 24.0% — 67.0%
Ohio 25.9% 22.7% — 29.4%
Oklahoma 29.3% 24.1% — 35.0%
Oregon 25.6% 20.0% — 32.2%
Pennsylvania 24.4% 21.3% — 27.8%
Rhode Island 29.7% 17.3% — 46.1%
South Carolina 25.3% 21.0% — 30.2%
South Dakota 35.8% 26.8% — 45.9%
Tennessee 28.9% 24.8% — 33.3%
Texas 36.0% 33.3% — 38.7%
Utah 24.8% 17.9% — 33.2%
Virginia 26.0% 21.9% — 30.6%
Washington 35.3% 30.3% — 40.6%
West Virginia 27.4% 21.3% — 34.5%
Wisconsin 19.7% 15.6% — 24.6%
Wyoming 36.1% 25.9% — 47.8%

Table 6: Percent of gun owners who have indicated that they have ever owned an AR-15
styled rifle by state. Note that this includes rifles that an owner holds in other locations if

there are local ownership restrictions and rifles modified to be compliant with local laws.

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Finally, the demographics of firearms ownership and defensive use are diverse, with different

demographic groups commonly owning and using firearms at substantial rates.

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Appendix A: Vermont Pilot Survey

An initial version of this survey was fielded in Vermont. We report below the top line results
from the Vermont survey, which closely mirror the results of the national survey.

In sum, 572 Vermont residents were surveyed, of which 163 indicated owning firearms.
The survey sample represented the demographics of Vermont well on all dimensions except
gender, as women were over represented and comprised 65.2% of respondents. Thus, weights
were employed for gender.

With weighting employed, we find that 30% of Vermont residents own a firearm. Given
that the adult population of Vermont is approximately 486,000, this suggest that there are
over 145,600 firearms owners in Vermont. 42.1% of Vermont firearms owners are estimated
to be female and 57.9% male.

As Figure 16 illustrates, almost a third of gun owners (29.3%) reported having used
a firearm to defend themselves or their property (not counting incidents that were due to
military service, police work, or work as a security guard). In nearly half of these defensive
gun uses (45.9%), respondents reported facing multiple assailants. 85.8% of all incidents
were resolved without the firearm owner having to fire a shot (e.g. by simply showing a
firearm or verbally threatening to use it).

Proportion of Defensive Incidents that
Involve Multiple Assailants

Self Defense by
Vermont Gun Owners

¢ Multiple assailants

« Have used a firearm in
self defense @ One assailant

Figure 16: Proportion of gun owners in Vermont who have use a firearm in self-defense and

number of assailants involved.

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Sample of Vermont responses to open ended question prompt of “Have you ever been in
a situation (including any referenced in earlier responses) in which it would have been useful

for defensive purposes to have a firearm with a magazine capacity in excess of 10 rounds?”:

e in the first incident it was five to one. I was outnumbered. three rounds per person if

needed
e The time I was assaulted by 10 individuals.

e Yes. We have bear that frequently come to our home. They’ve attempted to get into
my truck, they have come onto our porch thru the dog door (XL size) they have been
in our chicken coops and in our garage. They have damaged many items, destroyed gas
grills and threatened my dogs and children. Sometimes a warning shot isn’t enough.
And if, God forbid, the bear turned and started to attack us multiple bullets would be

needed to stop him.

e About 6 individuals broke into my house one night. I locked myself in my room and
they tried to break my door down. I threatened them with use of deadly force, but
they kept trying. One of them was outside and broke my bedroom window and I aimed
my shotgun at him and he ran off. I threatened again with the sound of charging my
shotgun that they knew I wasn’t bluffing and they all fled. Had they entered with the
intent to kill my family and I, then we would have been out numbered. If there was
an exchange of gun fire, I wouldn’t want to have the restriction of reloading within the
time I needed to protect my family and myself. Outgun the enemy or the enemy will
surely outgun you. Limiting everyone’s right to weapons is not the answer, and clearly
this attempt to ban high capacity magazines is just the catalyst to a government gun

grab for easier totalitarian control of the population.
e Yes, i had two run ins with a mountain lion.
e We had a home invasion two times in a month

e Yes. We live in VT. Every time I fired my gun in defense of my property it was to

deter bears from damaging my property. It takes more than 1 shot to scare a bear. If

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it charges you or your family it’ll definitely take a bunch of shots to stop the bear.

e Yes. Just because there are 10 rounds in a magazine does not mean all will be on
target during a self defense incident. In 2012 while I was in college in Connecticut, I
got jumped by 4 people in Hartford ct. I had nothing on me to defend myself. The
men all threatened me with knives and handguns. I wish I was able to carry a firearm

at that point.

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Appendix B: Sampling Proportions With and Without
Weights for National Survey

Initial Sample Census Based

Gender
Proportions Weighted Proportions
Male 49.32% 49.23%
Female 50.68% 50.77%
Age Range Initial Sample Census Based
Proportions Weighted Proportions
18-20 7.89% 5.04%
21-25 8.11% 8.58%
26-30 7.30% 9.24%
31-35 11.67% 8.67%
36-40 12.66% 8.44%
41-45 8.49% 7.70%
46-50 6.46% 8.09%
51-55 6.37% 8.138%
56-60 7.39% 8.52%
61-65 7.67% 7.87%
66-70 8.03% 6.59%
71-75 5.07% 5.138%
76-80 1.94% 3.50%
Over 80 0.93% 4.49%

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Annual Household Initial Sample Census Based

Income Proportions Weighted Proportions
Less than $10,000 8.87% 3.40%
$10,000-20,000 8.95% 4.89%
$20,000-30,000 9.69% 6.26%
$30,000-40,000 8.78% 7.06%
$40,000-50,000 7.44% 7.21%
$50,000-60,000 7.72% 6.96%
$60,000-70,000 6.00% 6.96%
$70,000-80,000 6.37% 6.37%
$80,000-90,000 4.51% 5.76%
$90,000-100,000 5.89% 5.76%
$100,000-150,000 17.67% 19.11%
Over $150,000 8.12% 20.23%
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State of Residence Initial Sample Census Based
Proportions Weighted Proportions

Alabama 1.83% 1.52%
Alaska 0.39% 0.22%
Arizona 2.10% 2.16%
Arkansas 1.10% 0.91%
California 9.75% 11.95%
Colorado 1.59% 1.75%
Connecticut 1.23% 1.09%
Delaware 0.56% 0.30%
District of Columbia 0.27% 0.21%
Florida 7.29% 6.51%
Georgia 3.67% 3.24%
Hawaii 0.36% 0.44%
Idaho 0.44% 0.56%
Illinois 4.14% 3.87%
Indiana 2.13% 2.05%
Iowa 0.91% 0.96%
Kansas 0.92% 0.89%
Kentucky 1.61% 1.36%
Louisiana 1.23% 1.41%
Maine 0.51% 0.41%
Maryland 1.67% 1.87%
Massachusetts 1.88% 2.13%
Michigan 3.21% 3.05%
Minnesota 1.36% 1.73%
Mississippi 0.83% 0.90%
Missouri 1.938% 1.86%
Montana 0.25% 0.383%
Nebraska 0.53% 0.59%
Nevada 0.90% 0.94%
New Hampshire 0.40% 0.42%
New Jersey 2.97% 2.81%
New Mexico 0.36% 0.64%
New York 8.09% 6.11%
North Carolina 3.18% 3.16%
North Dakota 0.13% 0.24%
Ohio 4.138% 3.57%
Oklahoma 1.32% 1.20%
Oregon 1.05% 1.28%
Pennsylvania 4.30% 3.93%
Rhode Island 0.383% 0.33%
South Carolina 1.68% 1.55%
South Dakota 0.48% 0.27%
Tennessee 2.18% 2.09%
Texas 6.91% 8.81%
Utah 0.56% 0.99%
Virginia 2.438% 2.61%
Washington 2.03% 2.33%
West Virginia 0.71% 0.54%
Wisconsin 1.83% 1.78%
Wyoming 0.32% 0.17%

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Initial Sample Census Based

Race
Proportions Weighted Proportions

White 81.26% 76.30%

Black 9.85% 13.40%

Asian 3.98% 5.90%

Native American 2.19% 1.30%

Pacific Islander 0.49% 0.20%

Other 2.22% 2.90%

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